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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
_____________________________________

UNITED STATES OF AMERICA,

                    Plaintiff,

             v.                                                10-CR-188

JULIO MANUEL DE LEON-NAVARRO,

                Defendant.
_____________________________________


                                  DECISION AND ORDER

             This case was referred to the undersigned by the Hon. Richard J. Arcara,

in accordance with 28 U.S.C. § 636(b)(1), for all pretrial matters and to hear and report

upon dispositive motions. Dkt. # 251.



                             PRELIMINARY STATEMENT

             The defendant, Julio Manuel De Leon-Navarro, is charged in count 4 of a

13 count indictment against 23 defendants with conspiracy to possess with intent to

distribute, and to distribute, five kilograms or more of a mixture and substance

containing cocaine and a mixture and substance containing marijuana, in violation of

Title 21, United States Code, Sections 841(a)(1), 841(b)(1)(A) and 841(b)(1)(D), in

violation of Title 21 United States Code Section 846. Dkt. #1. The defendant also

faces forfeiture of money pursuant to Title 21, United States Code, Sections 853(a)(1),

853(a)(2), and 853(p). Dkt. #1.
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               The defendant filed a motion for a bill of particulars (Dkt. #249); motion for

discovery (Dkt. #250); motion to dismiss (Dkt. #252); motion to sever (Dkt. #255); and

motion to join in motions of co-defendants. Dkt. #256. The government filed a

response and request for reciprocal discovery. Dkt. #383. The motion to dismiss will

be addressed in a separate Report, Recommendation and Order.



                               DISCUSSION AND ANALYSIS

Bill of Particulars

               “Rule 7(f) of the Federal Rules of Criminal Procedure permits a defendant

to seek a bill of particulars in order to identify with sufficient particularity the nature of

the charge pending against him, thereby enabling defendant to prepare for trial, to

prevent surprise, and to interpose a plea of double jeopardy should he be prosecuted a

second time for the same offense.” United States v. Bortnovsky, 820 F.2d 572, 574 (2d

Cir. 1987). Thus, a bill of particulars is required only where the charges of the

indictment are so general that they do not advise the defendant of the specific acts of

which he is accused. United States v. Chen, 378 F.3d 151, 163 (2d Cir.), cert. denied,

543 U.S. 994 (2004); United States v. Walsh, 194 F.3d 37, 47 (2d Cir. 1999). “The

prosecution need not particularize all of its evidence.” United States v. Davidoff, 845

F.2d 1151, 1154 (2d Cir. 1988). “Moreover, ‘a bill of particulars is not necessary where

the government has made sufficient disclosures concerning its evidence and witnesses

by other means.’” Id., quoting Walsh, 194 F.3d at 47. “Generally, the particulars as to

the formation of a conspiracy need not be set forth by the prosecution,” as such details

“are not necessary to allow the defendant to prepare his defense or to plead double

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jeopardy.” United States v. Iannelli, 53 F.R.D. 482, 483 (S.D.N.Y. 1971). “The decision

of whether or not to grant a bill of particulars rests within the sound discretion of the

district court.” Bortnovsky, 820 F.2d at 574; United States v. Panza, 750 F.2d 1141,

1148 (2d Cir. 1984). As the charges in the indictment, along with the discovery

materials provided by the government and the affidavit in support of the criminal

complaint clearly inform the defendant of the essential facts of the crimes charged, the

defendant is not entitled to, nor is he in need of, the “particulars” being sought for that

purpose. As a result, defendant’s motion is denied.



Discovery and Inspection

              The government responds that it is in compliance with its obligations

pursuant to Rule 16 and declares its intention to disclose any information subject to

Rule 16 as it is discovered. Dkt. #383, pp.2-5. In accordance with Rule 12(b) of the

Federal Rules of Criminal Procedure, the government notifies the defendant of its

intention to introduce any evidence disclosed to defendant at trial. Dkt. #383, p.3.

However, the government notes that many of defendant’s requests are beyond the

scope of pre-trial discovery. Dkt. #383, pp.4-17.



Defendant’s Statements

              In reliance upon the government’s representation that it has disclosed

defendants’ statements to law enforcement personnel pursuant to Rule 16(a)(1)(A) of

the Federal Rules of Criminal Procedure, this aspect of defendant’s motion is denied as

moot.

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Statements of Co-Conspirators

              Rule 16 does not encompass co-conspirator statements. United States v.

Percevault, 490 F.2d 126, 131 (2d Cir. 1974). The Jencks Act provides the exclusive

procedure for discovering statements that government witnesses – including co-

conspirators – have given to law enforcement agencies. In re United States, 834 F.2d

283, 286 (2d Cir. 1987). Rule 801(d)(2)(E) of the Federal Rules of Evidence does not

contain a required pretrial notice and therefore, there is no requirement on the part of

the government to disclose statements made by a defendant’s co-conspirator during

and in furtherance of the conspiracy. The admissibility of any such statements is best

addressed by the trial judge. United States v. Tellier, 83 F.3d 578, 580 (2d Cir.), cert.

denied, 519 U.S. 955 (1996). Accordingly, this aspect of defendant’s motion is denied.



Documents or Tangible Objects

              In reliance upon the government’s representation that it has complied with

Rule 16(a)(1)(E) of the Federal Rules of Criminal Procedure, and that any additional

items will be provided voluntarily as they are identified, defendant’s motion for

disclosure of physical evidence is denied as moot.



Reports of Examinations or Tests & Expert Witnesses

              In reliance upon the government’s representation that it will disclose all

materials that are discoverable under Rule 16(a)(1)(F) of the Federal Rules of Criminal

Procedure and that it will comply with Rule 16(a)(1)(G) of the Federal Rules of Criminal

Procedure, as well as Rules 702, 703 and 705 of the Federal Rules of Evidence, and

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that it will cooperate with defendant to provide the chemists’ credentials and methods in

the event that the defendant declines to stipulate as to the reports regarding the

controlled substances, as well as the qualifications of government law enforcement

experts relating to vague/coded drug references and firearms, this aspect of

defendant’s motion is denied as moot.



Identification

                 In reliance upon the government’s representation that it has and will

disclose information relating to pretrial identification procedures and has disclosed

recorded conversations and pole camera video related to this investigation, defendant’s

request for information or documentation reflecting identification of his person, voice,

handwriting, picture and/or composite sketch is denied as moot. Issues of admissibility

of testimony identifying defendant’s voice, as provided by Rule 901 of the Federal

Rules of Evidence, is best left to the trial judge.



Identity of Informants

                 Disclosure of the identity or address of a confidential informant is not

required unless the informant’s testimony is shown to be material to the defense.

United States v. Saa, 859 F.2d 1067, 1073 (2d Cir.), cert. denied, 489 U.S. 1089

(1988); see Roviaro v. United States, 353 U.S. 53, 59 (1957) (government generally is

not required to disclose identity of confidential informants). “Speculation that disclosure

of the informant’s identity will be of assistance is not sufficient to meet the defendant’s

burden; instead the district court must be satisfied, after balancing the competing

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interests of the government and the defense, that the defendant’s need for disclosure

outweighs the government’s interest in shielding the informant’s identity.” United States

v. Fields, 113 F.3d 313, 324 (2d Cir.), cert. denied, 522 U.S. 976 (1997). It is not

sufficient that the informant was a participant and witness to the crime. Saa, 859 F.2d

at 1073. As defendant has failed to articulate any basis for his request for the identity

of confidential informants, this aspect of his motion is denied.



Government Witnesses

              As defendant has failed to demonstrate any “particularized showing of

need” for the names, addresses and phone numbers of any witness to the alleged

offenses set forth in the indictment, this aspect of his motion is denied. See United

States v. Pastor, 419 F. Supp. 1318, 1320 (S.D.N.Y. 1975), aff’d 557 F.2d 930 (2d Cir.

1977).



Defendant’s Criminal Record

              In reliance upon the government’s representation that it has provided

defendant with a copy of his criminal record and is in compliance with its obligations

pursuant to Rule 16 of the Rules of Criminal Procedure, this aspect of defendants

motion is denied as moot.



Law Enforcement Documents

              Defendant’s request for reports, records, memoranda made by any

representative of any law enforcement authority, etc., is denied as beyond the scope of

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the government’s discovery obligations. Rule 16(a)(2) of the Federal Rules of Criminal

Procedure specifically exempts

              the discovery or inspection of reports, memoranda, or other
              internal government documents made by an attorney for the
              government or other government agent in connection with
              investigating or prosecuting the case. Nor does this rule
              authorize the discovery or inspection of statements made by
              prospective government witnesses except as provided in 18
              U.S.C. § 3500.


Brady, Giglio & Jencks Material

              The government acknowledges its responsibility under Brady v. Maryland,

373 U.S. 83 (1963) and Giglio v. United States, 405 U.S. 150 (1972) and subsequent

cases. The government has also represented that it will comply with the requirements

of 18 U.S.C. § 3500 with respect to production of statements of witnesses called to

testify at trial. As a result of these representations, the defendant’s request for such

materials, i.e., Brady, Giglio and Jencks is denied, but the government is hereby

directed to comply with the Second Circuit Court of Appeals’ holding in United States v.

Coppa, 267 F.3d 132 (2d Cir. 2001) and United States v. Rodriguez, 496 F.3d 221 (2d

Cir. 2007), by making timely disclosure of those materials to the defendant.



Severance

              Defendant argues that his trial should be severed from those of his co-

defendants because of the divergence between those defendants alleged to have

participated in a conspiracy to distribute cocaine and those defendants alleged to have

participated in a conspiracy to distribute marijuana. Defendant also argues that he


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would be prejudiced by evidence of co-defendants’ participation in a continuing criminal

enterprise and unlawful possession of firearms. Defendant’s argument that he should

be severed because co-defendant David Colon was not charged in the cocaine and/or

marijuana conspiracy, but in a charge of possession with intent to distribute 3,4-

methylenedioxymethamphetamine (MDMA), is moot as defendant Colon has resolved

the indictment by guilty plea.



              Rule 8(b) of the Federal Rules of Criminal Procedure provides that an

indictment

              may charge 2 or more defendants if they are alleged to have
              participated in the same act or transaction, or in the same
              series of acts or transactions constituting an offense or
              offenses. The defendants may be charged in one or more
              counts together or separately. All defendants need not be
              charged in each count.

“The established rule is that a non-frivolous conspiracy charge is sufficient to support

joinder of defendants” pursuant to Rule 8(b) of the Federal Rules of Criminal

Procedure. United States v. Nerlinger, 862 F.2d 967, 973 (2d Cir. 1988). As each of

the thirteen defendants remaining in this matter are charged with conspiracy in Count 4

of the indictment, and the second amended criminal complaint which preceded this

indictment sets forth specific facts to support a single conspiracy, thereby

demonstrating the conspiracy charge to be non-frivolous, joinder was proper. United

States v. Vanwort, 887 F.2d 375, 384 (2d Cir. 1989), cert. denied sub nom. Chapoteau

v. United States, 495 U.S. 906 (1990).




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              [W]hen defendants properly have been joined under Rule
              8(b), a district court should grant a severance under Rule 14
              only if there is a serious risk that a joint trial would
              compromise a specific trial right of one of the defendants, or
              prevent the jury from making a reliable judgment about guilt
              or innocence.

Zafiro v. United States, 506 U.S. 534, 539 (1993). The defendant maintains a “heavy

burden” in establishing a right to a severance. United States v. Sotomayor, 592 F.2d

1219, 1227 (2d Cir.), cert. denied sub nom. Crespo v. United States, 442 U.S. 919

(1979). He must establish that he will suffer “substantial prejudice due to the joint trial,

amounting to a miscarriage of justice.” United States v. Nersesian, 824 F.2d 1294,

1303 (2d Cir. 1987), cert. denied, 484 U.S. 958 (1987).



              A defendant’s argument that he would have “a better chance at acquittal

at a separate trial does not constitute substantial prejudice.” United States v. Carson,

702 F.2d 351, 366 (2d Cir.), cert. denied sub nom Mont v. United States, 462 U.S. 1108

(1983). Similarly, the fact that one defendant’s role in a conspiracy may be smaller or

less central than that of certain other co-conspirators does not mandate a separate trial.

Nersesian at 1304; Carson, 702 F.2d at 366-67 (“differing levels of culpability and proof

are inevitable in any multi-defendant trial and, standing alone, are insufficient grounds

for separate trials.”). “Moreover, the fact that evidence may be admissible against one

defendant but not another does not necessarily require severance.” Carson, 702 F.2d

at 367. Even in circumstances where a non-testifying defendant’s confession

specifically inculpates a co-defendant, the trial court can avoid the Confrontation Clause

issues such an identification would raise by adequate redaction. United States v. Jass,


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569 F.3d 47 (2d Cir. 2009)(discussing Bruton v. United States, 391 U.S. 123 (1968),

and its progeny), cert. denied, __ U.S. __, 130 S.Ct. 2128 (2010).

              The ultimate question is whether, under all the
              circumstances of the particular case, as a practical matter, it
              is within the capacity of the jurors to follow the court’s
              admonitory instructions and accordingly to collate and
              appraise the independent evidence against each defendant
              solely upon that defendant’s own acts, statements and
              conduct. In sum, can the jury keep separate the evidence
              that is relevant to each defendant and render a fair and
              impartial verdict as to him? If so, though the task be difficult,
              severance should not be granted.

United States v. Kahaner, 203 F. Supp. 78, 81-83 (S.D.N.Y. 1962); aff’d, 317 F.2d 459

(2d Cir.), cert. denied, 375 U.S. 836 (1963).



              The charges against this defendant and the co-defendants remaining in

the indictment are such that with appropriate instructions from the trial judge, and

sufficient redaction of his co-defendant’s statement, a jury will be able to collate and

appraise the independent evidence against the defendant solely on his acts, statements

and conduct and thereby render a fair and impartial verdict as to him. Therefore,

defendant’s request for a severance is denied without prejudice to renewal before the

trial judge prior to the final pretrial conference should circumstances at that time

warrant.



Joinder in Motions of Co-Defendants

              It is hereby ordered that the decision made by this Court as to each co-

defendant’s requests contained in the motions in which this defendant has standing to


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join shall also be deemed to be the finding and Order of this Court as to the defendant

herein.



Leave to Make Further Motions

              Defendant’s request for leave to make further motions is granted provided

that any additional bases for relief are based on facts or information learned by reason

of the continuation of the investigation or facts and circumstances revealed in the

government’s response to the instant motion or this Court’s Decision and Order.



Government’s Request for Reciprocal Discovery

              Since the defendant has moved pursuant to Rule 16(a)(1) of the Federal

Rules of Criminal Procedure for similar materials and information, the government is

entitled to reciprocal discovery pursuant to Rule 16(b)(1), and its request is hereby

granted. The government’s motion with respect to Rule 807 of the Federal Rules of

Evidence is denied as moot by reason of the requirements contained within Rule 807 of

the FRE wherein it is specifically stated:

              However, a statement may not be admitted under this
              exception unless the proponent of it makes known to the
              adverse party sufficiently in advance of the trial or hearing to
              provide the adverse party with a fair opportunity to prepare
              to meet it, the proponent’s intention to offer the statement
              and the particulars of it, including the name and address of
              the declarant.




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              Therefore, it is hereby ORDERED pursuant to 28 U.S.C. § 636(b)(1) that:



              This Decision and Order be filed with the Clerk of Court.



              ANY OBJECTIONS to this Decision and Order must be filed with the

Clerk of this Court within fourteen (14) days after receipt of a copy of this Decision and

Order in accordance with the above statute, Fed. R. Crim. P. 58(g)(2) and Local Rule

58.2.



              The district judge will ordinarily refuse to consider de novo, arguments,

case law and/or evidentiary material which could have been, but were not presented to

the magistrate judge in the first instance. See, e.g., Paterson-Leitch Co., Inc. v.

Massachusetts Municipal Wholesale Electric Co., 840 F.2d 985 (1st Cir. 1988). Failure

to file objections within the specified time or to request an extension of such time

waives the right to appeal the District Judge's Order. Thomas v. Arn, 474 U.S. 140

(1985); Wesolek, et al. v. Canadair Ltd., et al., 838 F.2d 55 (2d Cir. 1988).



              The parties are reminded that, pursuant to Rule 58.2 of the Local Rules

for the Western District of New York, "written objections shall specifically identify the

portions of the proposed findings and recommendations to which objection is made and

the basis for such objection and shall be supported by legal authority." Failure to

comply with the provisions of Rule 58.2, or with the similar provisions of


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Rule 58.2 (concerning objections to a Magistrate Judge's Decision and Order),

may result in the District Judge's refusal to consider the objection.



DATED:       Buffalo, New York
             June 15, 2012


                                       s/ H. Kenneth Schroeder, Jr.
                                       H. KENNETH SCHROEDER, JR.
                                       United States Magistrate Judge




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